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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ANA ALlCIA ARGUETA LOPEZ
836 Bonifant Street
Silver Spring, Maryland 20910

And

GEREM]AS ARMAN SERMENO BLANDIN
836 Bonifant Street
Silver Spring,, I\/laryland 20910

On Behalfof Themse[ves and
Otlzers Similarly Situated

PLA]NTIFFS,

v. Civil Aetiori No.:
COOSEMAN’S D.C. INCORPORATED
1214¢1 Queens Chapel Road, NE
Washington, DC 20018

Serve: David Blue
12144 Queens Chapel Road, NE
Washington, D.Cr 2001 8

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DEFENDANT. *
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COLLEC'I`IVE ACTION COMPLAINT

Plaintit`f Ana A]ieia Argueta Lopez (“Lopez”) and Geremias Arman Serrneno Blandin
(“Blandin”) (together, “Plaintiffs”), by and through undersigned counsel, on behalf of themselves
and all others similarly situated, hereby submit their Colleetive Aetion Cornplaint against
Defendant Cooseman’s D.C. Incorporated (“Defendant”), to recover damages under the Federal
F air Labor Standards Act of 1938, as amended, 29 U.S_C. §§ 201 et seq. (‘°FLSA”) and the D.C.
I\/Iinirnurn Wage Aet Revision Act of 1992, D.C. Code §§ 32-1001 et seq. (“DCMWA”) as set

forth below.

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PARTIES AND JURISDICTI()N
l. Plaintit"t`sl are adult resident of the State of l\/Iaryland. At all times, Plaintiffs

performed a substantial amount (more than 50%) their Worl< duties l"or Defendant in the District

of Columbia.

3. Det`endant is a corporation formed under the laws of the Commonwealth of
Virginia.

4. At all times, Defendant has regularly and substantially engaged in business

operations in the District of` Columbia.

5. At all times, Defendant Was Plaintiffs’ “employer” and the employer of other
similar situated individuals for purposes of the FLSA and DCMWA.

6. During Plaintit`l`s’ employment, Defendant Was engaged in commerce or in the
production of goods for commerce Within the meaning of § 3(3)(1) of the FLSA (29 U.S.C.

§ 293(8)(1)).

7. At all times relevant, Defendant qualified as an “enterprise” within the meaning
of§ 3(r) ofthe FLSA (29 U.S.C. § 203(r)).

8. At all times, Plaintiff and more than two other employees of Defendant Were
engaged in commerce or the production 01°` goods i"or commerce as required by 29 U.S.C. §§ 206-
207.

9. 'l`his COurt has jurisdiction over Defendant pursuant to § lG(b) of the FLSA, 29
U.S.C. § 2l6(b), and 28 U.S.C. § 1337 relating to “any civil action or proceeding arising under

any Act of Congress regulating commerce.”

 

l By acting as the named Plaintiffs lrerein, Plailitiffs hereby affirm their consent to participate as plaintiffs
in a collective action under the FLSA and DCMWA.

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10. Subject matterjurisdiction is invoked under 28 U.S.C. § l331 (Federal Question).
ll. Venue in this Court is proper pursuant to 28 U.S.C. § 1391.
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12. Plaintiffs were employed by Defendant as full time employees from about 201 1
through about August 2015_

13. While in Defendant’s employ, Plaintit`fs worked continuously and substantially
(more than 50%) in the District of Colurnbia.

14. While in Defendant’s employ, Plaintit`f`s exact hours worked each week varied
from week to week.

15. While in Defendant’s employ, Plaintift` regularly worked more than forty (40)
hours per week and often worked more than t`rfty (50) and occasionally more than sixty (60)
hours per week.

16. While in Defendant’s employ, Defendant paid Plaintit`fs as an hourly employees

17. While employed, Defendant pay Plaintiffs at the rate ot`one-and-one-halt` ( l l/z)
times their regular rate of pay for all overtime hours worked each week in excess of forty (40).

18. While employed, Defendant attempted to avoid F ederal and District ofColumbia
overtime pay violations by requiring that Plaintiffs sign “waivers” to waiver or release overtime
rights under Federal and District of Columbia law.

19. Any waiver signed by Plaintit`fs of overtime rights under Federal or District of
Columbia law is void and unenforceable as a matter of law.

20. While employed, Det`endant attempted to hide F ederal and District of Columbia
overtime violations by causing Plaintit`fs to be paid through a third-party entity payroll

processing company rather than running payroll directly through Defendant to Plaintift`s.

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21. At all times, Defendant was Plaintiffs’ employer under Federal and District of
Columbia law notwithstanding that a third-party payroll processing company may have drafted
checks to the order of Plaintiffs.

22. At no time while in Defendant`s employ did Plaintiffs perform work that meets
the definition of exempt work under the Federal or District of Columbia law.

23. At all times, Defendants had knowledge of the F ederal and District of Columbia
overtime pay requirements and had actual knowledge that it was willfully violating Federal and
District of Columbia law in failing to pay Plaintiffs overtime wages at the time-and-one-lialf rate.

COLLECTIVE ACTION ALLEGATIONS

24. Plaintiffs are pursuing this action as a FLSA and DCMWA collective action on behalf of
themselves and all other similarly situated individuals who performed work duties for Defendant who
worked more than forty (40) hours per week and were not paid at the rate of one-and-one half (l %)
times their regular rate of pay for overtime hours worked per week in excess of forty (40).

25. ln the present case, the questions of law or fact common to the members of the class
predominate over any questions affecting only individual class members

26. Plaintiffs and other similarly situated individuals were paid according to a common pay
plan as hourly employees and were commonly not paid overtime wages in compliance with the overtime
compensation requirements of F ederal and District of Columbia law.

27. Common to Plaintiffs and all class members is that each individual received overtime
compensation from Defendant at a rate less than what is required by Federal and District of Columbia
Law.

28. In the present case, the number of class members is believed to exceed thirty (3 0) current

and former employees of Defendant.

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29. All class members are readily identifiable from information and records, on information
and belief, in the possession and control of the Defendant.
CAUSES OF ACTION

COUNT l
Violation of Fedcral Fair Labor Standards Act

30. Plaintiffs re-allege and reassert each and every allegation set forth above, as if
each were set forth herein.

31. The FLSA provides that “no employer shall employ any of his employees for a
workweek longer than forty hours unless such employee receives compensation for his
employment in excess of the hours above specified at a rate not less than one and one-half times
the regular rate at which he is employed.”

32. At all times, Plaintiffs were “employees” covered by the FLSA, and Defendant
was Plaintiffs’ “employer"l under the FLSA.

33. Defendant, as Plaintift`s’ employer, was obligated to compensate Plaintiffs for
overtime hours worked at the overtime rate equal to one-and-one-half (l '/2) times Plaintiffs’
regular rate ofpay for overtime hours worked each week in excess of forty (40).

34. Plaintiffs worked overtime hours in excess of forty (40) hours per week while in
Defendant’s employ and Defendant had knowledge of all hours Plaintiffs worked and suffered or
permitted Plaintiffs to work all hours herein alleged

35. While in Defendant’s employ, Defendant did not pay Plaintiffs for all overtime
hours worked per week in excess of forty (40) at the overtime rate required by the FLSA.

36. Plaintiffs are entitled to, and are owed, overtime wages under the FLSA.

37. Defendant has failed to compensate Plaintiff (and others similarly situated)

properly and as required by the FLSA for overtime hours worked.

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38. Defendant’s failure to pay compensation as required by the FLSA was knowing,
willful and intentional, and not in good faith.

WHEREFORE, Defendant is liable to Plaintiff (arrd all others similarly situated who have
joined in this suit_) under Count I for all unpaid overtime wages in such amounts to be proved at
trial, plus an equal amount in liquidated damages, interest (both pre- and post-judgment):

attorney’s l`ees, the costs of this action, and any other and further relief this Court deems

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COUNT II
Violation of D.C. Minimum Wage Act Revision Act of 1992
39. Plaintiffs re-allege and reassert each and every allegation set forth above, as if

each were set forth herein

40_ Plaintiffs were an “employees” and Defendant was Plaintiffs’ “employer” within
the meaning of the DCMWA.

41. Pursuant to the DCMWA, Defendant, as Plaintiffs’ employer, were obligated to
compensate Plaintiffs for overtime hours worked at the overtime rate of one-and-one-half (l 1/z)
times Plaintiffs’ regular rate of pay for overtime hours worked each week in excess of forty (40).

42. Plaintiffs worked overtime hours substantially (more than 50%) in the District of
Columbia in excess of forty (40) hours per week while in Defendant’s employ and Defendant
had knowledge of all hours Plaintiffs worked and suffered or permitted Plaintiffs to work all
hours herein alleged

43. While employed, Defendant did pay Plaintiff for all overtime hours worked each
week in excess of forty (40) at the rate required by the DCl\/IWA.

44. Plaintiffs are entitled to, and are owed, overtime pay under the DCMWA.

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45. Defendant’s failure and refusal to pay compensation as required by the DCMWA
was knowing, willful and intentional, and not in good faith.

WHEREFORE, Defendant is liable to Plaintiffs (and all others similarly situated who
have joined in this suit) under Count II, for all unpaid wages in such amounts to be proven at
trial, plus liquidated damages as provided by the DCl\/IWA, interest (both pre- and post-
judgment), attorney’s fees, costs, and any other and further relief this Court deems appropriate

Respectfully submitted,
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